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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS


WARREN BERES, et al.,                              )
                                                   )
     Plaintiffs,                                   )   Nos. 03-785L, 04-1456L, 04-1457L, 04-
V.                                                 )   1458L, 04-1459L, 04-1463L, 04-1465L,
                                                   )   04-1466L, 04-1467L, 04-1468L, 04-
THE UNITED STA TES OF AMERICA,                     )   1469L, 04-1471L, 04-1472L, 04-1473L,
                                                   )   04-1474L
                   Defendant.                      )
                                                   )   Honorable Marian Blank Horn
                                                   )



                                DECLARATION OF HOWARD FREEDMAN

     1. I am a Plaintiff in Collins v. United States, case no. 04-14 72L, consolidated with Beres v.
United States, case no. 03-785L. My wife, Pamela Freedman, and I owned a property in Lake
Sammamish that is the subject of dispute in this partial summary jud g m ent proceeding. We
purchased the property from Barry Lewis on October 12, 1988 (see Def. Ex. 18) and sold the
property in 2006 to Alan and Elizabeth Henkel. (See Orrico DecJaration, E x . _ . )
     2. At the time of purchase, we believed that the railroad had an easement and that when it
stopped using the easement the property would revert to us. This seemed to be the common
understanding of our neighbors, too, since others in the area treated the right of way as their own,
as did we.
     3. No one, to my knowledge, claimed that we did not own the land under the railroad
easement.
     4. When Pam and I bought the property, the improvements and landscaping Mr. Lewis had
done, as he describes in his Declaration, was evident to us. Pam and I continued in that same
vein and, as to some parts of the right of way, expanded the landscaping already existing in the
right of way. (See Exhibit A hereto, Areas A & E, which visually depicts the information
provided in this Declaration,). We expanded the Area of planting with flowers and shrubs
adjacent to the driveway east of the house. (id., Area A). We placed a terraced vegetable garden




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surrounded by railroad ties in 1990 five feet from the railroad tracks and 10 feet wide extending
westward 25 feet and installed a smaJI fence around the garden in 1991 (id., Area F). Around
1991 we installed an irrigation system to water the landscaping (id., Area A and vegetable
garden (Area F), and extended the irrigation pipes which we had installed on the northern part of
the area of the right of way in 1992, southward extending 12' from the rail road tracks to the
driveway access to the south (id., Area C). We planted 12 cypress trees in 1992 along the right of
way about 15' from the tracks on the west side (id., Area C) to provide a sound barrier from the
train and road noise and irrigated them to promote robust growth. We planted a cherry and
another fruit trees on the right of way just north of the driveway at the southern end of the right
of way in 1995 (id., Area H). We planted a hedge on the right side of the driveway in the right of
way (id., Area H). We hired a Seattle landscape designer to design and complete a new garden
with a water fountain feature around 1995. (Id., Area A). The new garden had a walking trail,
bench, flowers, bushes and flowering trees.
    5. From 1988 till 2006 (when we sold the property) we stored a sailboat and trailer on the
right of way in the flat area west of the railroad tracks above the steep slope further west (id.,
Area B). From 1988 till 2006 we mowed the right of way in the level area to the west of the
railroad tracks from the driveway northerly to our property line, except for a 5' segment on each
side of the tracks which was mowed by the railroad (id., Area C), and removed excessive brush,
mostly blackberry bushes, and growth from the steep embankment to the west of the tracks (id.,
Area G) and east of the tracks all the way up to the East Lake Sammamish Parkway (id. Area E).
The slope east of the tracks (id.) was moderately sloping and had very dense brush, blackberry
vines, and trees, and was less steep than the area west of the flat area, which started at a point
approximately 15 feet west of the tracks (id., Area G) that dropped down to the flower garden.
We landscaped the driveway from the tracks down to the house with a wooden border (id. Area
I) and installed a new mailbox on the right of way around 1999 next to East Lake Sammamish
Parkway at the north side of the driveway. We also placed a large wood pile on the right of way
just east of the tracks in 1994. (Id. Area D.) From 1988 till the mid 1990s we maintained the
                                                  2



                                                                                                      Ex. 16-2
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septic drain field and septic pipes in the right of way (id. Area K) till the county placed water and
sewer lines to the house through the right of way starting north of the driveway at E. Lake
Sammamish Parkway which proceed west under the tracks and down the slopes under the
landscaped garden and driveway to end at the house approximately 15 feet south of the northern
garage where a new sewage tank and pump were installed. We mowed and cut the grass and
weeds with a weed-eater in the area east and west of our driveway next to E. Lake Sammamish
Parkway. (Id. Areas J and K.)
   6. In short, from 1988 when we bought the property, until 2006 when we sold it, except for
the tracks and 5' to each side of the railroad tracks, which were maintained and mowed by the
railway, we regularly used, pruned, weeded, mowed, landscaped, cleared brush and maintained
almost the entire right of way (which we considered our property) extending up to E Lake
Sammamish Parkway.
   I declare under penalty of perjury that the foregoing statements are true and correct to the
best of my knowledge. This declaration was executed on this 30th day of January 2018.




                                                  Howard Freedman, M.D.




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                                                                                                        Ex. 16-3
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  A) Garden - cleared brush; installed fountain, bench, irrigation.
  B) Boat and yard maintenance equipment storage; cleared trees.
  C) Cleared and maintained landscaping on track's outer edges.
  D) Firewood storage.
  E) Cleared brush and trees; maintained landscaping; planted cherry trees.
  F) Vegetable Garden.
  G) Installed irrigation; planted cypress and bushes as buffer from the Parkway.
  H) Planted and maintained 2 cherry trees, landscaped, railroad ties.
  I) Installed railroad ties on outer edge of driveway.
  J) Cleared and maintained landscaping for clear driveway.
  K) Installed and maintained drain field with pipes, sewer connection.
  L) Installed and used mailbox.




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                                                                                                Exhibit features are conceptually designed and no exact location shall

                                                                     E Lake Sammamish ROW
                                                                                                be assumed. Careful techniques are used in displaying GIS data, yet
                                 1 inch = 40 feet                                               ESM  cannot guarantee accuracy of information conveyed on this map.




                                                                                                                                                                              Ex. 16A-1
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                                                                                            Aerial Imagery provided by Aerial Express (2012). Although careful

                                                                    2012 Aerial Imagery
                                                                                            techniques are used in creating and displaying GIS data, ESM cannot
                                 1 inch = 40 feet                                           guarantee  accuracy of information conveyed on this map.




                                                                                                                                                                      Ex. 16A-2
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                                                                                King County, Washington State Department of Natural
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                                 1 inch = 40 feet                                           guarantee  accuracy of information conveyed on this map.




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                                                                    1990 Aerial Imagery
                                                                                            techniques are used in creating and displaying GIS data, ESM cannot
                                 1 inch = 40 feet                                           guarantee  accuracy of information conveyed on this map.




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